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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 ALVOTECH USA INC. and                         )
 ALVOTECH HF.,                                 )
                                               )        Case No. 1:21-cv-05645
                              Plaintiffs,      )
                                               )        Hon. Chief Judge Rebecca R. Pallmeyer
        v.                                     )
                                               )
 ABBVIE INC. and                               )
 ABBVIE BIOTECHNOLOGY LTD.,                    )
                                               )
                              Defendants.      )


                         NOTICE OF VOLUNTARY DISMISSAL


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Alvotech USA, Inc.

and Alvotech hf. dismiss this action without prejudice. Defendants have not served an answer,

nor have Defendants moved for summary judgement.

  Date: November 1, 2021                           Respectfully submitted,

                                                   ALVOTECH USA INC. and ALVOTECH HF.

                                                   By: /s/ Louis E. Fogel
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                                                       and Alvotech hf.
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                               CERTIFICATE OF SERVICE


       I hereby certify that on November 1, 2021 I caused a true and correct copy of the

foregoing to be electronically served on counsel of record via the Court’s CM/ECF system; and

also via email upon counsel for AbbVie Inc. and AbbVie Biotechnology Ltd. who have appeared

in this matter which was transferred from 2:21-cv-00265 (E.D. Va.), as follows:



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                                                   /s/ Louis E. Fogel
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